Case 2:14-Cr-00210-SD Document 1 Filed 04/25/14 Page 1 of 7

THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : CRIMINAL NO. 14-
DATE FILED:
CHRISTOPHER SARIDAKIS
VIOLATION:

15 U.S.C. §§ 78j(b), 78ff,- and 17 C.F.R.

§§ 240.10b-5 and 240.10b5-1(securities

fraud - insider trading - 1 count)

18 U.S.C. § 2 (aiding and abetting)
INFORMATION

COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:
The Defendant and Relevant Entities

At all times relevant to this information:

l. GSI Commerce, Inc. (“GSIC”) Was a publicly-traded e-commerce
marketing services company with headquarters in King of Prussia, Pennsylvania. GSIC’s stock
was registered under Section 12(g) of the Secun'ties Ei<change Act of 1934 and was traded on the
National Association of Securities Dealers Automated Quotations (“NASDAQ”) under the ticker
symbol “GSIC.”

2. eBay, Inc. (“EBAY”), was a publicly-traded internet
consumer-to-consumer company with headquarters in San Jose, California. EBAY’s stock Was
registered under Section 12(g) of the Securities Exchange Act of 1934 and was traded on the

NASDAQ under the ticker symbol “EBAY.”

Case 2:14-Cr-00210-SD Document 1 Filed 04/25/14 Page 2 of 7

3. Defendant CHRISTOPHER SARIDAI<£IS was a senior executive at GSIC,
holding the position of ChiefExecutive Ofticer for Global Marketing Services. In performing his
various duties, defendant SARIDAKIS was regularly in possession of material, non~public
information (inside information) concerning GSIC, Defendant SARIDAKIS owed a fiduciary
duty to GSIC and its Shareholders regarding such inside information

4. Cooperating Witness One (CWl) was a senior executive in the media and
advertising sector who had a business relationship with defendant CHRISTOPHER SARIDAKIS
since 2003, When they had worked together at the same company. CWl was aware of defendant
SARIDAKIS’ position within GSIC.

The SEC and the Securities Law
5. The United States Securities and Exchange Comrnissionl (the “SEC”) was
' an independent agency of the United States, which Was charged by law with the duty of protecting
investors by regulating and monitoring, among other things, the purchase and sale of publicly
traded securities Among the national securities markets regulated by the SEC Were the New
York Stock Exchange and NASDAQ. The SEC places certain requirements on publicly traded
companies including the following:

a) The antifraud provisions of the federal securities laws, including Section 10b of

the Exchange Act, codified at Title 15, United States Code, Section 78j (b), and .
Rule 10b-5 thereunder, codified at Title 17, Code of Federal Regulations,
Section 240. 10b-5 prohibited fraudulent activities in connection with the

buying and selling of securities, including “insider trading.”

Case 2:14-Cr-00210-SD Document 1 Filed 04/25/14 Page 3 of 7

b) “Insider trading” was generally defined as trading a security, in violation of a
fiduciary duty, on the basis of material, nonpublic information about a public
company.

c) Rule 10b5-1, codified at Title 17, Code of Federal Regulations, Section
240.10b5-1, effective October 23, 2000, provided that a purchase or sale of a
security was made “on the basis of” material, non-public information when the
person making the trade was aware of the material, non-public information at
the time of the trade.

d) GSIC’s company policy in fact states that “Insiders are prohibited from
discussing non-public material information with any person outside of the
Company or otherwise disclosing non-public material information outside of
the Cornpany, unless and only to the extent required in the normal performance

of assigned responsibilities.”

EBAY’s ACOUISITION OF GSIC
6. Beginning in or about January 2011, senior executives of GSIC and EBAY
discussed the possibility of EBAY acquiring GSIC with the exception of its licensed sports
merchandise business or consumer engagement businesses GSIC expressed that it would not be
interested in an acquisition until it could complete a pending acquisition in a sports merchandise
business, which was subsequently determined would close on or about March 15, 2011. On or
around February 15, 2011, senior executives of GSIC and EBAY held a ca11 and discussed that a

previously signed non-disclosure agreement applied to the parties’ discussions regarding a

Case 2:14-cr-00210-SD Document 1 Filed 04/25/14 Page 4 of 7

potential acquisition On or about March 27, 2011, the Boards of Directors of EBAY and GSIC
agreed to terms related to the merger including a purchase price of $29.25 per GSIC Share.

7. The merger discussions between GSIC and EBAY were material,
non-public information (inside information). SARIDAKIS was privy to the inside information
regarding the merger, having been briefed in or about mid-February 2011 about the merger
discussions between GSIC and EBAY.

8. On or about March 28, 2011, prior to the market opening, NASDAQ halted
trading of GSIC stock, Shortly thereafter, EBAY publicly announced that it would acquire GSIC
in a cash deal at a price of $29.25 per share of GSIC common stock, a premium of over 50% to the
previous day’s closing stock price and a 47% premium to the average closing stock price for the
previous 30 days prior to the announcement

9. 'On or about June 17, 2011, the merger was consummated, with current
shareholders of GSIC receiving $29.25 per share in cash plus $0.33 as part of a shareholder
litigation settlement

10. From at least on or about March 20, 2011 through on or about March 28,
201 l, defendant

CHRISTOPHER SARIDAKIS,

willfully, directly and indirectly, and by aiding and abetting, by the use of means and
instrumentalities of interstate commerce and of the facilities of a national securities exchange,
used and employed manipulative devices and contrivances in connection with the purchase and
sale of securities, in contravention of the rules and regulations prescribed by the Securities and
Exchange Commission, namely, 17 C.F.R. §§ 240.10b-5 and 240.10b5-1, by (a) employing a

device, scheme, and artifice to defraud and (b) engaging in acts, practices and courses of dealing

Case 2:14-cr-00210-SD Document 1 Filed 04/25/14 Page 5 of 7

which would and did operate as a fraud and deceit upon persons in connection with purchases and
sales of GSIC securities

In violation of Title 15, United States Code, Sections 78j(b) and 78ff, Title 17,
Code of Federal Regulations, Section 240.10b-5, and Title 18, United States Code, Section 2.

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11. It was a part of the scheme that defendant CHRISTOPHER SARIDAKIS
willfully, directly and indirectly, by use of the means and instrumentalities of interstate commerce,
and the facilities of national securities exchanges, used and employed manipulative and deceptive
devices and contrivances, in violation of Title 17, Code of Federal Regulations, Section 240.10b-5,
by: (a) employing devices, schemes, band artifices to defraud; (b) making untrue statements of
material facts and omitting to state material facts necessary in order to make the statements made,
in the light of the circumstances under which they were made, not misleading; and (c) engaging in
acts, practices, and courses of business which operated and would operate as a fraud and deceit
upon any person, in connection With the purchase and sale of GSIC securities, in violation of Title
15, United states code, sections 7'8j(b) and vsff.

12. It was a part of the scheme that defendant CHRISTOPHER SARIDAKIS
used, and aided and abetted the use of, inside information in order to execute transactions in GSIC
securities This inside information was information not available to the public at large, and
material in nature such that an average investor would have wanted to know the information
Some of the means by which the defendants effectuated the fraudulent scheme were as follows:

a) Defendant CHRISTOPHER SARIDAKIS, in violation of his fiduciary duty

owed to GSIC and GSIC shareholders, and in violation of GSIC company

policy, shared inside information with CWl by encouraging CWl to purchase

Case 2:14-cr-00210-SD Document 1 Filed 04/25/14 Page 6 of 7

GSIC shares prior to the merger. CWl was aware of defendant SARIDAKIS’
position within GSIC and the material, nonpublic nature of the information.

b) CWl, based upon the inside information, and knowing that defendant
CHRISTOPHER SARIDAKIS’ provision of inside information to CWl
violated defendant SARIDAKIS’ fiduciary duties to GSIC and its shareholders,
made or caused to be made purchases of GSIC shares

c) In total, defendant CHRISTOPHER SARIDAKIS’ tip caused approximately
$260,304.34 in illegal profits. The defendant used the wires and facilities of
interstate and foreign commerce in furtherance of the conspiracy.

13. On or about March 20, 2011, beginning at approximately ll p.m. Eastern

Standard Time, defendant CHRISTOPHER SARIDAKIS and CWl exchanged a series of text
messages that began with defendant SARIDAKIS asking CWl if he “...own[ed] our [GSIC]
shares?” CWl replied, “no, but it’s cheap.” This response led defendant SARIDAKIS to tell
CWl “you should.” CWl responded with “ok,” to which defendant SARIDAKIS replied,
“soon.” CWl told defendant SARIDAKIS that he/she would purchase (GSIC) shares “tomorrow
am. Under $20” and defendant SARIDAKIS confirmed “exac[t]ly.” Defendant SARIDAKIS’

. conveyance of material non-public information violated the fiduciary duty he owed to GSIC and
its shareholders, and violated GSIC’s company policy on insider trading.

14. On or about March 22, 2011, following the receipt of the text messages,

while in possession of the inside information, and knowing defendant CHRISTOPHER
SARIDAKIS’ position as a senior executive at GSIC, CWl purchased and caused to be purchased

25,000 shares of GSIC stock on margin for approximately $470,000.

Case 2:14-cr-00210-SD Document 1 Filed 04/25/14 Page 7 of 7

15. On or about June 20, 2011, CWl received $737,500 in exchange for the
25,000 shares of GSIC, equating to an illicit profit of $260,304.

All in violation of Title 18, United States Code, Section Sections 78j(b) and 78ff,
Title 17, Code of Federal Regulations, Sec_tion 240.10b-5, and Title 18, United States Code,

Section 2.

A TRUE BILL:

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United States Attorney

